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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     (at Lexington)

  UNITED STATES OF AMERICA,                          )
                                                     )
            Plaintiff,                               )     Civil Action No. 5: 17-176-DCR
                                                     )
  V.                                                 )
                                                     )
  HENRY AGEE, et al.,                                )                ORDER
                                                     )
            Defendants.                              )

                                      ***   ***   ***     ***

       The United States has filed a Notice of Bankruptcy regarding Defendants Henry Agee

and Jennifer Agee. [Record No. 13] Accordingly, it is

       ORDERED as follows:

       1.        This matter is STAYED, pending further orders.

       2.        The parties are directed to notify the Court immediately upon completion of the

bankruptcy proceeding and/or the lifting of the automatic stay. Otherwise, the parties are

directed to file status reports every ninety (90) days.

       This 2nd day of March, 2018.




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